                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                   No. 5:19-CR-230-BO

 UNITED STATES OF AMERICA,

        v.
                                                      SENTENCING MEMORANDUM
 DAVID E. PIVER

                 Defendant.



       Defendant, David E. Piver, by and through undersigned counsel, submits this Sentencing

Memorandum pursuant to 18 U.S.C. § 3661, to provide additional information for the Court’s

consideration during sentencing. The Government has recommended, and the Defendant agrees,

that a sentence of probation would provide a punishment sufficient to accomplish the goals of

sentencing.

  I.   HISTORY AND CHARACTERISTICS OF DEFENDANT

             a. Education and Professional Background

       Mr. Piver graduated from Ithaca College with a degree in Political Science and History in

1981, and from Cornell University with a Master’s Degree focused on agricultural and

international economic development thereafter. Mr. Piver, fluent in Chinese, was a Cornell

visiting scholar at Fudan University in Shanghai China in 1986. Mr. Piver remained in China for

an additional two years where he started a business helping U.S. and Chinese companies engage

in joint ventures. Following the Tiananmen Square incident, Mr. Piver returned to the United

States to attend Villanova Law School, graduating in 1993.

       A year after graduation, Mr. Piver founded the Law Office of David E. Piver and has been

the principal there for more than 26 years. His former associates have founded or now work in
senior positions as immigration lawyers in more than a dozen immigration law firms. Notably,

Mr. Piver has no prior criminal history and has never been subject to disciplinary sanctions in his

nearly three decades of legal practice.

       In addition to his interests in immigration law, Mr. Piver has served on numerous boards

of non-profit organizations dedicated to the improvement of the inner-life of individuals in the

communities served by these organizations. This includes serving four years on the board of The

Kripalu Center, one of the largest holistic health, yoga, stress management and wellness centers in

the United States. Additionally, Mr. Piver served as president of his synagogue for four years and

is currently on the board of Reconstructing Judaism, the international organization representing

and supporting their movement.

           b. Family Background

       Mr. Piver was born and raised in Washington D.C. by parents Louise Piver and Dr. Julius

S. Piver, MD, JD. Mr. Piver was raised in a loving and accomplished home and community with

a strong religious upbringing and surrounded by highly accomplished and loving family and

friends.

       Mr. Piver’s parents came to the United States as immigrants fleeing the pogroms of Russia

(large-scale, targeted, and repeated anti-Jewish rioting). Their stories and the impact of them

fleeing for their lives had a huge impact on Mr. Piver’s upbringing in a cohesive and ambitious

Jewish community in Washington, D.C.

       Mrs. Louise Piver, who will celebrate her 90th birthday in May 2020, was a homemaker

throughout Mr. Piver’s youth. In addition, she volunteered for many years as the Chairwoman or

a committee member in charitable Jewish organizations raising millions of dollars for the elderly

and the defense of Israel throughout the 70’s and 80’s.




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        Dr. Piver was a renowned OBGYN in Washington, D.C. delivering over 3,000 babies in

his career. He served for many years as the chairman of Obstetrics and Gynecology at the

Washington Hospital Center. After a year at George Washington University, he was drafted into

the Army Medical Corps in 1943. He arrived in England on D-Day, June 6, 1944, and stayed until

July 1945. He finished college and went to medical school on the GI Bill at George Washington

University. At the age of 62, Dr. Piver completed law school at American University. He

continued to work as a doctor and served as medical legal expert in hundreds of medical

malpractice cases throughout the United States until his death in 2012, at the age of 87.

        Mr. Piver has two sisters, one who is an acclaimed author and another who serves as a

Senior Vice President and Comptroller of a major transportation company.

        Mr. Piver has one child, Forrest Piver, who is 25 years old. Forrest was born profoundly

deaf. He now hears after two cochlear implant surgeries, when wearing these devices. Mr. Piver

and his late wife, Zea Piver, were dedicated therapists for Forrest, and ultimately Forrest graduated

from Rochester Institute of Technology, obtained a Master’s Degree from Northeastern University

in International Relations, and is currently pursuing a second Master’s Degree in Australia at the

University of Sydney. Upon his return from Australia, Forrest plans to start law school in Toledo,

Ohio.

        Zea and David were married for 20 years. Zea struggled with mental illness throughout

the last ten years of the marriage and took her life in 2013, despite Mr. Piver’s devoted love and

efforts to help her overcome her illness, haunted by the deaths of nearly her entire family in Hitler’s

concentration camps and the Warsaw Ghetto. Zea’s death occurred when Forrest was a freshman

in college. With the steady help of his father, Forrest was able to complete his degree and regain

his footing in the world after this catastrophic loss to their family.




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       Mr. Piver will soon be marrying Julie Meyers who is also an attorney and works as the

Chief Marketing Officer of an international law firm with headquarters in Philadelphia,

Pennsylvania. Julie is a graduate of Tulane University and American University School of Law.

Julie has served on the boards of many nonprofit organizations in various roles from treasurer to

marketing advisor. She has two children, Jake and Rachel, whom Mr. Piver refers to as his “bonus

children.” Jake is an American University graduate soon to be pursuing law school. Rachel is an

artist and graduate of Union College in upstate New York. She is currently spending the year in

Florence, Italy studying art and Italian.

 II.   DETERMINING THE SENTENCE

           A. The Statutory Offense

       Title 8, United States Code, Section 1306(c) provides that it is misdemeanor offense for

any alien to file an application for registration containing a statement known to be false.

Accordingly, the elements of this offense are (1) knowingly; (2) filing an application for

registration; (3) containing false statements. In a false statement prosecution, a defendant’s

knowledge can be shown by proving that he or she acted with “reckless disregard of whether the

statements made were true.” United States v. Sarantos, 455 F.2d 877, 880 (2d Cir. 1972).

       A conviction for this offense is punishable by imprisonment not to exceed 6 months, or a

fine not to exceed $1,000. Pursuant to the terms of the plea agreement, the Government has agreed

to recommend a sentence of probation.

           B. Suitability of a Probationary Sentence

       Mr. Piver asks this Court to adopt the Government’s recommendation and impose a

probationary sentence. A review of the sentencing factors in 18 U.S.C. § 3553(a), as applied to

Mr. Piver and the circumstances of this case, supports such a disposition.




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       As an initial matter, the sentencing guidelines do not apply to the instant offense. Pursuant

to U.S.S.G. § 1B1.9, the sentencing guidelines do not apply to any offense that is a Class B

misdemeanor. The offense at issue, 8 U.S.C. § 1306(c), is a Class B misdemeanor as it is

punishable by not more than 6 months imprisonment.

       Turning next to the related factors of the nature and circumstances of the offense, the need

for the sentence imposed to reflect the seriousness of the offense, and adequate deterrence. See 18

U.S.C. §§ 3553(a)(1), (2)(a), and (2)(B). Mr. Piver is pleading guilty to aiding and abetting a

misdemeanor offense which he committed knowingly but without intent to defraud the

Government, and while seeking to pursue a legal strategy on behalf of his client. As recognized

by the Government, a misdemeanor conviction and the imposition of a probationary sentence

adequately reflects the seriousness of the offense and provides for general deterrence.

       Reviewing next the history and characteristics of the Defendant and the need to protect the

public from further crimes of the Defendant (see 18 U.S.C. §§ 3553(a)(1) and (2)(C)), Mr. Piver’s

background, as detailed above, makes clear that he does not pose a threat to the public and that his

history and characteristics weigh heavily in his favor. The record makes clear that Mr. Piver has

contributed greatly to his community. Imposition of a probationary sentence would allow him to

continue in those efforts. Mr. Piver founded and has run a successful immigration law practice for

more than 25 years and is an immigration attorney who has never been the subject of disciplinary

sanctions. Notably, the Government is not requiring Mr. Piver to surrender his law license as a

condition of the plea agreement.

       Reviewing these factors as a whole, it is clear that the Court should adopt the Government’s

recommendation and impose a sentence of probation.




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III.   CONCLUSION

       For the reasons outlined herein, the Defendant believes that a sentence of probation would

meet the purposes of sentencing.

       WHEREFORE, based on the preceding arguments, as supported herein, Mr. Piver

respectfully requests that the Court impose upon Mr. Piver probationary sentence for the reasons

set forth herein and grant such other and further relief as it may deem just, proper, and reasonable.

         Respectfully submitted this 11th day of December, 2019.

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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 11, 2019, I electronically filed the foregoing document

with the Clerk of Court using the CM/ECF system which will send notification of such filing to

the following:

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